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  SCHEDULE
     A
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                                       SCHEDULE A

                            AUTHORITY FOR THE TAKING


        The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, which appropriated the funds that shall be used for the taking.
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  SCHEDULE
      B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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  SCHEDULE
     C
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                                     SCHEDULE C

                                 LEGAL DESCRIPTION

                                  Hidalgo County, Texas

Tracts: RGV-MCS-3003 and RGV-MCS-2219
Owner: Cascade Real Estate Operating, L.P.
Total Acreage: 38.307

Tract #1: RGV-MCS-3003:

Being a 34.299 acre (1,494,054 square feet) parcel of land, being out of the Ramon
Manguilla Survey, Abstract No. 42 and the Yldefonso Quiroga Survey, Abstract No. 43,
Porciónes 59 and 60, Hidalgo County, Texas, being out of the river levee right-of-way
conveyed to the United States of America by Easement Deed recorded in Volume 551, Page
294, Deed Records of Hidalgo County, Texas (787-H), being out of Lots 5, 15, 26, 27 and
28 of John H. Shary Subdivision as recorded in Volume 1, Page 17, Map Records of
Hidalgo County, Texas, and being out of a called 324.25 acre tract conveyed to Cascade
Real Estate Operating, LP by Special Warranty Deed recorded in Instrument No. 2019-
3069818, Official Records of Hidalgo County, Texas (Tract 7- Parcel A), said parcel of
land being more particularly described by metes and bounds as follows;

Commencing at a set 5/8” rebar with a “MDS” aluminum disk capped survey marker
stamped with the following description: “ POC RGV-MCS-3003 3004”, said point being
at the most westerly southwest corner of the 324.25 acre tract and the northwest corner of
a called 2.70 acre tract conveyed to Guadalupe Cabrera and Trinidad Cabrera by Warranty
Deed with Vendor's Lien recorded in Instrument No. 1965-7063, Deed Records of Hidalgo
County, Texas, said point being in the east right-of-way line of Shary Road, said point
having the coordinates of N=16574878.084, E=1050389.390;

Thence: S 81°26’50” E (N 81°25’20” W, Record), departing the east right-of-way line of
Shary Road, with the north line of the 2.70 acre tract and a southerly line of a portion of
the 324.25 acre tract, passing at 191.34’ the southwest corner of a called 5.52 acre tract
described as “Save & Except Tract (5)” retained by Hidalgo County Water Control and
Improvement District No. 19 in Special Warranty Deed recorded in Instrument No. 1976-
33803, Deed Records of Hidalgo County, Texas, the southwest corner of the river levee
right-of-way conveyed to the County of Hidalgo by Easement Deed recorded in Volume
541, Page 609, Deed Records of Hidalgo County, Texas (786-and the northwest corner of a
called 11.73 acre river levee right-of-way conveyed to the United States of America by
Easement Deed recorded in Volume 617, Page 316, Deed Records of Hidalgo County, Texas
(River Levee), continuing for a total distance of 299.83’ to a set 5/8” rebar with a “MDS”
aluminum disk capped survey marker stamped with the following description: “RGV-
MCS-3003-1=3004-29” for the Point of Beginning and southwesterly corner of Tract RGV-
MCS- 3003, said point being at a southwesterly corner of a portion of the 324.25 acre tract,
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                                      SCHEDULE C (Cont.)

    the southeast corner of the “786-H” river levee right-of-way, and a southwesterly corner of
    the “787-H” river levee right-of-way, said point being in the north line of the 2.70 acre
    tract, said point having the coordinates of N=16574833.493, E=1050685.886, said point
    bears N 24°18’13” E, a distance of 364.78’ from United States Army Corps of Engineers
    Control Point No. 103;

    Thence: departing the north line of the 2.70 acre tract, with the common lines of the 5.52
    acre tract, the “786-H” river levee right-of-way, the “787-H” river levee right-of-way, and
    a portion of the 324.25 acre tract, the following courses and distances:

x   N 23°10’35” E, for a distance of 346.01’ to an angle point of Tract RGV-MCS-3003;
x   N 39°05’33” E, for a distance of 1532.60’ to an angle point of Tract RGV-MCS-3003;
x   N 56°21’43” E, for a distance of 168.30' to an angle point of Tract RGV-MCS-3003;
x   N 72°57'58" E, for a distance of 225.90' to an angle point of Tract RGV-MCS-3003;
x   N 77°56'43" E, for a distance of 401.20' to an angle point of Tract RGV-MCS-3003;
x   S 78°30’47” E, for a distance of 428.10' to an angle point of Tract RGV-MCS-3003;
x   N 59°20’58” E, for a distance of 405.00' to an angle point of Tract RGV-MCS-3003;
x   N 08°36’13” E, for a distance of 12.90' to an angle point of Tract RGV-MCS-3003;
x   N 59°20’58” E, for a distance of 382.00' to an angle point of Tract RGV-MCS-3003;
x   N 68°43’53” E, for a distance of 162.90' to an angle point of Tract RGV-MCS-3003;
x   N 83°24’43” E, for a distance of 123.10' to an angle point of Tract RGV-MCS-3003;
x   S 80°50’47” E, for a distance of 164.10' to an angle point of Tract RGV-MCS-3003;
x   S 73°49’07” E, for a distance of 665.90' to an angle point of Tract RGV-MCS-3003;
x   N 08°36’13” E, for a distance of 40.17’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3003-15” for
    a northerly corner of Tract RGV-MCS-3003, said point being in the east line of the 5.52
    acre tract, the east line of the “786-H” river levee right-of-way, a westerly line of the “787-
    H” river levee right-of-way, and a westerly line of a portion of the 324.25 acre tract, said
    point marking a point of curvature to the left;

    Thence: departing the east line of the 5.52 acre tract and the east line of the “786-H” river
    levee right-of-way, over and across a portion of the 324.25 acre tract and the “787-H” river
    levee right- of-way, the following courses and distances:

x   Along said curve to the left for an arc distance of 642.17’, with a central angle of 24°31’45”
    and a radius of 1500.00’, with a chord bearing of N 71°38’21” E, for a distance of 637.28’
    to a set 5/8” rebar with a “MDS” aluminum disk capped survey marker stamped with the
    following description: “RGV-MCS-3003-16” for the point of tangency;
x   N 59°22’28” E, for a distance of 902.98’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3003-17” for
    a point of curvature to the right;
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                                       SCHEDULE C (Cont.)

x   Along said curve to the right for an arc distance of 190.30’, with a central angle of
    13°37’45” and a radius of 800.00’, with a chord bearing of N 66°11’21” E, for a distance
    of 189.85’ to a set 5/8” rebar with a “MDS” aluminum disk capped survey marker stamped
    with the following description: “RGV-MCS-3003-18=3006-1-9” for the northeast corner
    of Tract RGV-MCS-3003, said point being in the east line of a portion of the 324.25 acre
    tract, the east line of the “787-H” river levee right-of-way, the east right-of-way line of
    Bentsen Road, the west line of a called 14.64 acre tract conveyed to Hunt Valley Industrial
    I, L.P. by Special Warranty Deed recorded in Instrument No. 2003-1153789, Official
    Records of Hidalgo County, Texas, and the west line of the river levee right-of-way
    conveyed to the County of Hidalgo by Easement Deed recorded in Instrument No. 1973-
    10311, Deed Records of Hidalgo County, Texas (Tract No. 2-Levee);

    Thence: S 08°36’13” W (S 08°34’30” W, Record), with the west line of the 14.64 acre
    tract, the west line of the “Tract No. 2” river levee right-of-way, the east line of a portion of
    the 324.25 acre tract, and the east line of the “787-H” river levee right-of-way, for a
    distance of 285.40’ to a set 5/8” rebar with a “MDS” aluminum disk capped survey marker
    stamped with the following description: “RGV-MCS-3003-19=3006-1-8” for the southeast
    corner of Tract RGV-MCS-3003, said point being in the west line of the 14.64 acre tract,
    the west line of the “Tract No. 2” river levee right-of-way, the east line of a portion of the
    324.25 acre tract, and the east line of the “787- H” river levee right-of-way, said point
    marking a point of curvature to the left;

    Thence: departing the west line of the 14.64 acre tract and the west line of the “Tract No.
    2” river levee right-of-way, over and across a portion of the 324.25 acre tract and the “787-
    H” river levee right-of-way, the following courses and distances:

x   Along said curve to the left for an arc distance of 67.79’, with a central angle of 4°01’31”
    and a radius of 965.00’, with a chord bearing of S 61°23’14” W, for a distance of 67.78’ to
    a set 5/8” rebar with a “MDS” aluminum disk capped survey marker stamped with the
    following description: “RGV-MCS-3003-20” for the point of tangency;
x   S 59°22’28” W, for a distance of 1133.77’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3003-21” for
    a point of curvature to the right;
x   Along said curve to the right for an arc distance of 610.72’, with a central angle of
    46°39’20” and a radius of 750.00’, with a chord bearing of S 82°42’08” W, for a distance
    of 593.98’ to a set 5/8” rebar with a “MDS” aluminum disk capped survey marker stamped
    with the following description: “RGV-MCS-3003-22” for the point of tangency;
x   N 73°58’12” W, for a distance of 547.17’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3003-23” for
    a point of curvature to the left;
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                                      SCHEDULE C (Cont.)

x   Along said curve to the left for an arc distance of 453.03’, with a central angle of 47°11’37”
    and a radius of 550.00’, with a chord bearing of S 82°25’59” W, for a distance of 440.33’
    to a set 5/8” rebar with a “MDS” aluminum disk capped survey marker stamped with the
    following description: “RGV-MCS-3003-24” for the point of tangency;
x   S 58°50’11” W, for a distance of 642.36’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3003-25” for
    a point of curvature to the right;
x   Along said curve to the right for an arc distance of 359.51’, with a central angle of
    51°29’44” and a radius of 400.00’, with a chord bearing of S 84°35’03” W, for a distance
    of 347.53’ to a set 5/8” rebar with a “MDS” aluminum disk capped survey marker stamped
    with the following description: “RGV-MCS-3003-26” for the point of tangency;
x   N 69°40’05” W, for a distance of 83.18’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3003-27” for
    a point of curvature to the left;
x   Along said curve to the left for an arc distance of 228.13’, with a central angle of 32°40’40”
    and a radius of 400.00’, with a chord bearing of N 86°00’26” W, for a distance of 225.06’
    to a set 5/8” rebar with a “MDS” aluminum disk capped survey marker stamped with the
    following description: “RGV-MCS-3003-28” for the point of tangency;
x   S 77°39’14” W, for a distance of 338.63’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3003-29” for
    a point of curvature to the left;
x   Along said curve to the left for an arc distance of 271.44’, with a central angle of 38°52’49”
    and a radius of 400.00’, with a chord bearing of S 58°12’50” W, for a distance of 266.26’
    to a set 5/8” rebar with a “MDS” aluminum disk capped survey marker stamped with the
    following description: “RGV-MCS-3003-30” for the point of tangency;
x   S 38°46’25” W, for a distance of 1134.99’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3003-31” for
    a point of curvature to the left;
x   Along said curve to the left for an arc distance of 583.11’, with a central angle of 14°13’01”
    and a radius of 2350.00’, with a chord bearing of S 31°39’54” W, for a distance of 581.62’
    to a set 5/8” rebar with a “MDS” aluminum disk capped survey marker stamped with the
    following description: “RGV-MCS-3003-32” for the point of tangency;
x   S 24°33’24” W, for a distance of 495.54’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3003-33” for
    the south corner of Tract RGV-MCS-3003;
x   N 81°19’45” W, for a distance of 15.51’ to a set 5/8” rebar with a “MDS” aluminum disk
    capped survey marker stamped with the following description: “RGV-MCS-3001-3=3003-
    34” for a southerly corner of Tract RGV-MCS-3003, said point being in a westerly line of
    a portion of the 324.25 acre tract, a westerly line of the “787-H” river levee right-of-way,
    the east line of the 11.73 acre river levee right-of-way and the east line of a called 6.86 acre
    tract conveyed to the County of Hidalgo, Texas by Deed recorded in Instrument No. 1973-
    11346, Deed Records of Hidalgo County, Texas (“Tract No. 2”);
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                                   SCHEDULE C (Cont.)

Thence: N 08°42’35” E (N 08°36’30” E, Record), along the common line of a portion
of the 324.25 acre tract, the “787-H” river levee right-of-way, the 11.73 acre river levee
right-of-way and the 6.86 acre tract, passing at 202.14’ the northeast corner of the 6.86 acre
tract and the southeast corner of the 2.70 acre tract, continuing for a total distance of 517.48’
to a point for a southwesterly corner of Tract RGV-MCS-3003, said point being at the
northeast corner of the 2.70 acre tract, the northeast corner of the 11.73 acre river levee
right-of-way, a southwesterly corner of a portion of the 324.25 acre tract, and a
southwesterly corner of the “787-H” river levee right-of-way;

Thence: N 81°26’50” W (N 81°25’20” W, Record), with the north line of the 2.70 acre
tract, the north line of the 11.73 acre river levee right-of-way, a southerly line of the “787-
H” river levee right-of-way and a southerly line of a portion of the 324.25 acre tract, for a
distance of 43.57’ to the Point of Beginning.

Tract #2: RGV-MCS-2219:

BEING a 4.008 acre tract (174,582 square feet) parcel of land, more or less, being out of
a called 68.30 acre tract, recorded in Document No. One153789, Official Records of
Hidalgo County (O.R.H.C.), Texas, conveyed to Hunt Valley Industrial I, LP., described
in Document No. One353747, Official Records of Hidalgo County (O.R.H.C.), Texas, said
4.008 acre (174,582 square feet) parcel of land being more particularly described as
follows;

BEGINNING at a found 1/2" rebar designated “RGV-MCS-2215-1-1=RGV- MCS-2217-
9=RGV-MCS-2219-1” having a coordinate value of N=16579099.732, E=1041467.763,
said point being the northwest corner of the herein described proposed acquisition tract and
the northwest corner of said Hunt Valley Industrial I, LP. tract, said point being the
southwest corner of a called 100.900 acre tract, conveyed to Catholic Diocese of
Brownsville recorded in Document No. 1999-814019, O.R.H.C., said point being on the
west line of the levee easement (733-H), recorded in Document No. 1942-18238, Official
Records of Hidalgo County (O.R.H.C.), Texas, conveyed to the United States of America,
said point being on the east line of a called 247.68 acre tract, recorded in Volume 1510,
Page 87, Deed Records of Hidalgo County (D.R.H.C.), Texas, conveyed to United States
of America (U.S. Fish and Wildlife Service) (Tract 326C), said point also being N
40°49’47” W, a distance of 1811.65 feet from United States Corps of Engineers Control
Point No. H122;
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                                 SCHEDULE C (Cont.)

THENCE: N 57°27’31” E, departing the west line of said levee easement (733-H) and the
east line of said United States of America tract (Tract 326C) and along the north line of
said Hunt Valley Industrial I, LP. tract and the south line of said Catholic Diocese of
Brownsville tract, a distance of 74.98 feet to the northeast corner of the herein described
proposed acquisition tract, said point being designated “RGV-MCS-2202-2-20=RGV-
MCS-2217-8=RGV-MCS-2219-2”, said point also being on the east line of said levee
easement (733-H), the west line of the levee easement (734-H), recorded in Document No.
1944-45877, Official Records of Hidalgo County (O.R.H.C.), Texas, conveyed to the
United States of America and the west line of a tract of land, recorded in Volume 752, Page
342, Deed Records of Hidalgo County (D.R.H.C.), Texas, conveyed to Hidalgo County
Water Control and Improvement District No. 19 and described in Document No. 1353747,
Official Records of Hidalgo County (O.R.H.C.), Texas;

THENCE: S 30°24’34” E, departing said north line of Hunt Valley Industrial I, LP. tract
and said south line of Catholic Diocese of Brownsville tract and along the west line of said
levee easement (734-H), the west line of said Hidalgo County Water Control and
Improvement District No. 19 tract, and the east line of said levee easement (733-H), a
distance of 930.58 feet to an angle point designated “RGV-MCS-2202-2-19=RGV-MCS-
2219-3”;

THENCE: S 36°00’24” E, along the west line of said levee easement (734-H), the west
line of said Hidalgo County Water Control and Improvement District No. 19 tract, and the
east line of said levee easement (733-H), a distance of 352.40 feet to an angle point
designated “RGV-MCS-2202-2-18=RGV-MCS-2219-4”;

THENCE: S 47°23’27” E, along the west line of said levee easement (734-H), the west
line of said Hidalgo County Water Control and Improvement District No. 19 tract, and the
east line of said levee easement (733-H), a distance of 60.12 feet to an angle point
designated “RGV-MCS-2202-2-17=RGV-MCS-2219-5=RGV- MCS-2222-3” for the
southeast corner of the herein described proposed acquisition tract, said point being the
northeast corner of a surveyed 1.759 acre tract, recorded in Volume 1297, Page 226, Deed
Records of Hidalgo County (D.R.H.C.),Texas, conveyed to Hidalgo County, Texas, said
point also being a corner of said Hunt Valley Industrial I, LP. tract;

THENCE: S 48°33’19” W, departing the west line of levee easement (734-H), the west
line of said Hidalgo County Water Control and Improvement District No. 19 tract, and the
east line of said levee easement (733-H) and along the north line of said Hidalgo County,
Texas tract, a distance of 201.56 feet to a found nail in 3” concrete post, designated “RGV-
MCS-2219-6=RGV-MCS-2222-2” for the southwest corner of the herein described
proposed acquisition tract, said point being the northwest corner of said Hidalgo County,
Texas tract and an outer corner of said Hunt Valley Industrial I, LP. tract, said point also
being on the west line of said levee easement (733-H) and the east line of said United States
of America tract (Tract 326C);
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                                   SCHEDULE C (Cont.)

THENCE: N 36°02’24” W, departing the north line of said Hidalgo County, Texas tract
and along the west line of said Hunt Valley Industrial I, LP. tract, the west line of said levee
easement (733-H), and the east line of said United States of America (Tract 326C), a
distance of 517.40 feet to a found 3” concrete post for an angle point designated “RGV-
MCS-2219-7”;

THENCE: N 28°38’38” W, departing the west line of said Hunt Valley Industrial I, LP.
tract, the west line of said levee easement (733-H), and the east line of said United States
of America (Tract 326C), a distance of 133.09 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap stamped “RGV-MCS-2219- 8=RGV-MCS-2223-3” for
an angle point, said point being on the south line of a called 0.86 acre tract, recorded in
Volume 1311, Page 948, Deed Records of Hidalgo County (D.R.H.C.), Texas, conveyed
to Hidalgo County Drainage District No. One;

THENCE: N 58°15’32” E, along the south line of said Hidalgo County Drainage District
No. One tract, a distance of 121.39 feet to a found 1/2” rebar with cap designated “RGV-
MCS-2219-9=RGV-MCS-2223-2” for the southeast corner of said Hidalgo County
Drainage District No. One tract and an angle point;

THENCE: N 30°56’09” W, departing the south line of said Hidalgo County Drainage
District No. One tract and along the east line of said Hidalgo County Drainage District No.
One tract, a distance of 299.04 feet to a found 2-1/2” pipe filled with concrete designated
“RGV-MCS-2215-1-2=RGV-MCS-2219-10= RGV-MCS-2223-1”; for the northeast
corner of said Hidalgo County Drainage District No. One tract and an angle point, said
point also being an outer corner on the east line of said United States of America tract
(Tract 326C);

THENCE: N 30°32’27” W, departing the north line of said Hidalgo County Drainage
District No. One tract and along the east line of said United States of America tract (Tract
326C), a distance of 424.81 feet to the POINT OF BEGINNING and containing 4.008
acres (174,582 square feet) of land, more or less.
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   SCHEDULE
       D
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                             SCHEDULE D

                              MAP or PLAT
                        Tract #1: RGV-MCS-3003
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                         SCHEDULE D (Cont.)
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                         SCHEDULE D (Cont.)

                        Tract #2: RGV-MCS-2219
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                         SCHEDULE D (Cont.)
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                         SCHEDULE D (Cont.)
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                             SCHEDULE D (Cont.)




Tracts: RGV-MCS-3003 and RGV-MCS-2219
Owner: Cascade Real Estate Operating, L.P.
Total Acreage: 38.307
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    SCHEDULE
        E
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                                      SCHEDULE E

                                     ESTATE TAKEN

                                  Hidalgo County, Texas

Tracts: RGV-MCS-3003 and RGV-MCS-2219
Owner: Cascade Real Estate Operating, L.P.
Total Acreage: 38.307

Tract #1: RGV-MCS-3003:

        The estate acquired is fee simple, subject to existing easements for public roads
and highways, public utilities, railroads, and pipelines; and subject to the mineral
interests of third parties; excepting and reserving to the Grantor all interests in minerals
and appurtenant rights for the exploration, development, production and removal of said
minerals;
       Reserving to Cascade Real Estate Operating, LP, the owners of property
described in document number 3069818, recorded with the Hidalgo County Clerk on 6
December 2019, reasonable access to and from the owners’ lands lying between the Rio
Grande River and the border barrier through opening(s) or gate(s) in the border barrier
between the westernmost mark labeled “Beginning” and easternmost mark labeled
“Ending” depicted on the map below;
        Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights
or systems are subordinated to the United States’ construction, operation, and
maintenance of the border barrier.

Tract #2 RGV-MCS-2219:
        The estate acquired is fee simple, subject to existing easements for public roads
and highways, public utilities, railroads, and pipelines; and subject to the mineral
interests of third parties; excepting and reserving to the Grantor all interests in minerals
and appurtenant rights for the exploration, development, production and removal of said
minerals;
Excepting and excluding all interests in water rights and water distribution and drainage
systems, if any, provided that any surface rights arising from such water rights or systems
are subordinated to the United States’ construction, operation, and maintenance of the
border barrier.
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                         SCHEDULE E (Cont.)
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    SCHEDULE
        F
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                                     SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



   The sum estimated as just compensation for the lands being taken is TWO HUNDRED

THOUSAND, FOUR HUNDRED AND FOURTY SEVEN DOLLARS AND NO/100

($200,447.00), to be deposited herewith in the Registry of the Court for the use and benefit

of the persons entitled thereto.
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     SCHEDULE
        G
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                                     SCHEDULE G

                                INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s
property interest(s) as indicated by references in the public records and any other
information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                             Reference
 Cascade Real Estate Operating, L.P.          RGV-MCS-3003
 David Killam (Registered Agent)              Special Warranty Deed,
 c/o Killam Management, L.C.                  Document #3069818;
 4320 University Blvd.                        Recorded December 6, 2019,
 Laredo, Texas 78041                          Deed Records of Hidalgo County

                                              RGV-MCS-2219
                                              Deed Without Warranty,
                                              Document #3069823;
                                              Recorded December 6, 2019,
                                              Deed Records of Hidalgo County
 Pablo “Paul” Villarreal, Jr.                 Tax Authority
 Hidalgo County Tax Assessor-Collector
 2804 S. Business Hwy 281
 Edinburg, Texas 78539
